Case 2:21-cv-14495-AMC Document 1-3 Entered on FLSD Docket 12/22/2021 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT
for the

Southern District of Florida

BETTY R. SYLVESTRE
55 FREEDOM DRIVE
VERO BEACH, FLORIDA 32966-8772

 

Plaintiff(s)
Vv.

PRO CUSTOM SOLAR, LLC.,
d/b/a MOMENTUM SOLAR
3096 HAMILTON BLVD
SOUTH PLAINFIELD, NJ 07080-1201

Civil Action No.

 

Nee ee ee ee ee ee ee ee ee ee ee”

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
PRO CUSTOM SOLAR, LLC.,
d/b/af MOMENTUM SOLAR
3096 HAMILTON BLVD
SOUTH PLAINFIELD, NJ 07080-1201

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

BETTY R. SYLVESTRE
55 FREEDOM DRIVE
VERO BEACH, FLORIDA 32966-8772

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
 

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Vv. Civil Action No.

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SOUTH PLAINFIELD, NJ 07080-1201

 

Defendant(s)

Nee ee ee ee ee ee ee ee ee ee ee

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d/b/ai MOMENTUM SOLAR
3096 HAMILTON BLVD
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55 FREEDOM DRIVE
VERO BEACH, FLORIDA 32966-8772

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Signature of Clerk or Deputy Clerk
